             Case 1:20-cv-00215-MLB Document 29 Filed 05/12/20 Page 1 of 4




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

JAMES LEE WALKER,

                        Plaintiff,

v.                                               Case No. 1:20-cv-00215-MLB-WEJ
EQUIFAX INFORMATION SERVICES,
LLC, TRANS UNION, LLC, and
GOLDMAN SACHS BANK USA,

                        Defendants.


                 STIPULATION OF DISMISSAL WITH PREJUDICE
                           OF TRANS UNION LLC

TO THE HONORABLE JUDGE BROWN:

            James Lee Walker, and Defendant Trans Union LLC, hereby file this

Stipulation of Dismissal with Prejudice, and in support thereof would respectfully

show the Court as follows:

            There are no longer any issues in this matter between James Lee Walker and

Trans Union LLC to be determined by this Court. Plaintiff and Trans Union LLC

hereby stipulate that all claims and causes of action that were or could have been

asserted against Trans Union LLC are hereby dismissed with prejudice, with court

costs and attorneys’ fees to be paid by the party incurring same.


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            Case 1:20-cv-00215-MLB Document 29 Filed 05/12/20 Page 2 of 4




                                       Respectfully submitted,


                                       /s/ Jonathan B. Mason
                                       Jonathan B. Mason
                                       Georgia Bar No. 475659
                                       MASON LAW GROUP, P.C.
                                       1100 Peachtree Street, NE, Suite 200
                                       Atlanta, GA 30309
                                       Telephone: (404) 920-8040
                                       Facsimile: (404) 920-8039
                                       jmason@atlshowbizlaw.com
                                       Counsel for Plaintiff


                                       /s/ Michael Merar
                                       Michael Merar
                                       Georgia Bar No. 966038
                                       QUILLING, SELANDER, LOWNDS,
                                       WINSLETT & MOSER, P.C.
                                       6900 North Dallas Parkway, Suite 800
                                       Plano, Texas 75024
                                       Telephone: (214) 560-5443
                                       Facsimile: (214) 871-2111
                                       mmerar@qslwm.com
                                       Counsel for Trans Union LLC




                                         2
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             Case 1:20-cv-00215-MLB Document 29 Filed 05/12/20 Page 3 of 4




                         LOCAL RULE 5. 1 CERTIFICATION

            I hereby certify that Defendant Trans Union LLC’s Stipulation of Dismissal

with Prejudice has been prepared in Times New Roman 14-point font in

accordance with Local Rule 5.1.


                                          /s/ Michael Merar
                                          Michael Merar




                                             3
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             Case 1:20-cv-00215-MLB Document 29 Filed 05/12/20 Page 4 of 4




                             CERTIFICATE OF SERVICE

            I hereby certify that on May 12, 2020, the foregoing document is being

served this day on all counsel of record identified on the below Service List via

transmission of Notices of Electronic Filing generated by CM/ECF.

 Jonathan B. Mason                        Lewis Perling
 jmason@atlshowbizlaw.com                 LPerling@KSLaw.com
 Mason Law Group, P.C.                    King & Spalding LLP
 1100 Peachtree Street, NE                1180 Peachtree Street
 Suite 200                                Atlanta, GA 30309
 Atlanta, GA 30309                        (404) 572-3079
 (404) 920-8040                           (404) 572-5172 Fax
 (404) 920-8039 Fax                       Counsel for Equifax
 Counsel for Plaintiff                    Information Services, LLC



                                         /s/ Michael Merar
                                         Michael Merar




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